                                                           IT IS ORDERED
                                                           Date Entered on Docket: July 23, 2018




                                                           ________________________________
                                                           The Honorable David T. Thuma
                                                           United States Bankruptcy Judge
______________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

  In re:                                         )
                                                 )
  LAS UVAS VALLEY DAIRIES,                       )       Case No. 17-12356-j11
  a New Mexico general partnership,              )
                                                 )
                                Debtor.          )

       STIPULATED ORDER APPROVING APPLICATION FOR ADMINISTRATIVE
          EXPENSES FILED BY CREDITOR EAGLE SUPPLY COMPANY, LLC

           THIS MATTER came on for consideration of the Application for Administrative

  Expenses filed by Creditor Eagle Supply Company, LLC (“Motion”) (Dkt #88), and after due

  notice to all interested parties, (Dkt. #89 and # 461), with no objections or responses filed to the

  Motion that have not been resolved by the consents noted below, and the Court having

  considered the matter, the Court finds that:


           1.    Eagle Supply Company, LLC (“Eagle”) filed its Application for Administrative

  Expenses on November 3, 2017, and has provided service and notice to all interested parties,

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including the Liquidating Trustee. (Dkt. # 89 and # 461)

         2.     Production Credit Association of Southern New Mexico (“PCA”) filed an

objection to the Motion on November 20, 2017. (Dkt #109)

         3.     The Debtor filed a response (Dkt #97) to the Motion on November 14, 2017, in

which it concurred that Eagle be allowed an administrative expense claim pursuant to 11 U.S.C.

§503(b)(9) in the net amount of $133,179.73. The Debtor did not agree to Eagle’s request for

immediate payment of said amount.

         4.     There have been no other responses or objections to the Motion.

         IT IS NOW THEREFORE ORDERED, as follows:

         A.     The Motion is hereby granted in all respects and Eagle Supply Company, LLC is

allowed a Section 503(b)(9) administrative expense claim in the net amount of $133,179.73, and

         B.     Eagle Supply Company, LLC’s administrative expense claim as allowed herein

shall be paid in accordance with the confirmed Chapter 11 Plan or under the Bankruptcy Code in

accordance with any liquidation of the Debtor under the Bankruptcy Code, and

         C.     Eagle Supply Company, LLC’s administrative expense claim as allowed herein

shall have no effect on the extent, validity or priority of liens or secured claims of PCA or

Metropolitan Life Insurance Company as those liens and security interest existed prior to the

entry of this order.

                                       ## End of Order ##

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